Case 4:25-cv-00150-RGE-WPK   Document 24-2   Filed 06/06/25   Page 1 of 4




                EXHIBIT 1
       Declaration of Nicholas A. Klinefeldt in
Support of Resistance to Plaintiff’s Motion for Remand
  Case 4:25-cv-00150-RGE-WPK                          Document 24-2                Filed 06/06/25             Page 2 of 4


From:               Daniel Suhr
To:                 Klinefeldt, Nicholas A.; Bob Corn-Revere
Cc:                 conor.fitzpatrick@thefire.org; greg.greubel@thefire.org; Anderson, Andrew; Yoshimura, David; Bylund, Jacob D.;
                    Quinn, Joe R.; bobandersoniowan@gmail.com
Subject:            Re: Service of Process in Donnelly v. Des Moines Register Co. et al
Date:               Thursday, January 9, 2025 6:12:53 PM
Attachments:        AMERICAN (DONNELLY)--ORIGINAL NOTICE ISSUED--05771__CVCV068445_CVON_14216928 (1).pdf


This Message originated outside your organization.



Thank you, Nick, I appreciate that. I attach an electronic copy of the notice from the
court (summons) as well and will look forward to your response on the formalities.

From: Klinefeldt, Nicholas A. <nick.klinefeldt@faegredrinker.com>
Sent: Thursday, January 9, 2025 5:39 PM
To: Daniel Suhr <dsuhr@americanrights.org>; Bob Corn-Revere <bob.corn-revere@thefire.org>
Cc: conor.fitzpatrick@thefire.org <conor.fitzpatrick@thefire.org>; greg.greubel@thefire.org
<greg.greubel@thefire.org>; Anderson, Andrew <andrew.anderson@faegredrinker.com>;
Yoshimura, David <david.yoshimura@faegredrinker.com>; Bylund, Jacob D.
<jacob.bylund@faegredrinker.com>; Quinn, Joe R. <joe.quinn@faegredrinker.com>;
bobandersoniowan@gmail.com <bobandersoniowan@gmail.com>
Subject: RE: Service of Process in Donnelly v. Des Moines Register Co. et al

Daniel,

We plan to accept service on behalf of the Register and Gannett and will be back to you shortly
concerning formalities. Likewise, we share everyone’s desire to work cooperatively on a schedule.

Thank you.

Nick

Nicholas A. Klinefeldt
Partner
nick.klinefeldt@faegredrinker.com
Connect: vCard

+1 515 447 4717 direct / +1 515 321 3850 mobile


Faegre Drinker Biddle & Reath LLP
801 Grand Avenue, 33rd Floor
Des Moines, Iowa 50309, USA

This message and any attachments are for the sole use of the intended recipient(s) and may contain confidential
and/or privileged information. Any unauthorized review, use, disclosure or distribution is prohibited. If you are not
the intended recipient, please contact the sender by reply email and destroy all copies of the original message and
any attachments.
  Case 4:25-cv-00150-RGE-WPK               Document 24-2         Filed 06/06/25      Page 3 of 4




From: Daniel Suhr <dsuhr@americanrights.org>
Sent: Thursday, January 9, 2025 12:58 PM
To: Bob Corn-Revere <bob.corn-revere@thefire.org>
Cc: conor.fitzpatrick@thefire.org; greg.greubel@thefire.org; Klinefeldt, Nicholas A.
<nick.klinefeldt@faegredrinker.com>; Anderson, Andrew <andrew.anderson@faegredrinker.com>;
Yoshimura, David <david.yoshimura@faegredrinker.com>; Bylund, Jacob D.
<jacob.bylund@faegredrinker.com>; Quinn, Joe R. <joe.quinn@faegredrinker.com>;
bobandersoniowan@gmail.com
Subject: Re: Service of Process in Donnelly v. Des Moines Register Co. et al

This Message originated outside your organization.



Thank you for the kind and prompt reply, Bob. Yes, we see no need for an expedited
schedule for an answer — obviously there's no motion for a TRO or preliminary
injunction. So our usual posture is to be flexible on scheduling for responsive pleadings
and any other briefing deadlines. Thanks - DANIEL

From: Bob Corn-Revere <bob.corn-revere@thefire.org>
Sent: Thursday, January 9, 2025 11:50 AM
To: Daniel Suhr <dsuhr@americanrights.org>
Cc: conor.fitzpatrick@thefire.org <conor.fitzpatrick@thefire.org>; greg.greubel@thefire.org
<greg.greubel@thefire.org>; nick.klinefeldt@faegredrinker.com
<nick.klinefeldt@faegredrinker.com>; andrew.anderson@faegredrinker.com
<andrew.anderson@faegredrinker.com>; david.yoshimura@faegredrinker.com
<david.yoshimura@faegredrinker.com>; jacob.bylund@faegredrinker.com
<jacob.bylund@faegredrinker.com>; joseph.quinn@faegredrinker.com
<joseph.quinn@faegredrinker.com>; bobandersoniowan@gmail.com
<bobandersoniowan@gmail.com>
Subject: Re: Service of Process in Donnelly v. Des Moines Register Co. et al

Dear Mr. Suhr,

I am Chief Counsel for the Foundation for Individual Rights and Expression and can confirm that we
represent J. Ann Selzer and Selzer & Company in the Donnelly matter. We are in the process of
conferring with our client about your questions and will respond promptly. Assuming we consent to
accepting service on our clients' behalf, I would expect to work cooperatively with you on a schedule
for responsive pleadings.

Sincerely,

Bob Corn-Revere

Robert Corn-Revere, Chief Counsel
 Case 4:25-cv-00150-RGE-WPK             Document 24-2       Filed 06/06/25      Page 4 of 4


Foundation for Individual Rights and Expression
700 Pennsylvania Avenue SE, Suite 340
Washington, D.C. 20003
bob.corn-revere@thefire.org
(215) 717-3473 Ext. 209




On Wed, Jan 8, 2025 at 12:55 PM Daniel Suhr <dsuhr@americanrights.org> wrote:

  Dear Counsel,

  Good morning. My name is Daniel Suhr, and along with my cocounsel Bob Anderson
  (cced above), I represent Dennis Donnelly in a suit against the Des Moines Register &
  Tribune Co., Dr. Ann Selzer, Selzer & Co., and Gannett Co. alleging various claims
  related to the November 2024 Iowa Poll. The lawsuit was filed yesterday in Polk
  County, Iowa, state court; a file-stamped copy of the petition is attached.

  You currently represent Dr. Selzer and Selzer & Co. (FIRE) and Gannett Co. (Faegre
  Drinker) in the separate case brought by President Trump currently pending in the
  Southern District of Iowa federal court. I am writing to ask if you will also represent
  your same clients in this new matter, and if so to see if you can waive or accept service
  on behalf of your clients, or alternatively to ask if there is a convenient manner for
  service of a summons. I am happy to confer by telephone now or at any point if that is
  easier.

  Gratefully,
  DANIEL

  Daniel R. Suhr
  Center for American Rights
  1341 W. Fullerton Ave., Ste. 170
  Chicago, IL 60614
  Licensed in Wisconsin
